Case 8:16-cr-00438-CEH-NHA Document 70 Filed 05/05/17 Page 1 of 5 PageID 212
Case 8:16-cr-00438-CEH-NHA Document 70 Filed 05/05/17 Page 2 of 5 PageID 213
Case 8:16-cr-00438-CEH-NHA Document 70 Filed 05/05/17 Page 3 of 5 PageID 214
Case 8:16-cr-00438-CEH-NHA Document 70 Filed 05/05/17 Page 4 of 5 PageID 215
Case 8:16-cr-00438-CEH-NHA Document 70 Filed 05/05/17 Page 5 of 5 PageID 216
